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                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In Re:                                                    Chapter 7

Basil Salim Halta,                                        Case No. 19-57782-WLH
                                 Debtor.


Nationstar Mortgage LLC d/b/a Mr. Cooper

                                                          Contested Matter
                                 Movant,

V.

Basil Salim Halta, Debtor, and William J.
Layng, Jr., Chapter 7 Trustee,

                                 Respondents.


                             NOTICE OF ASSIGNMENT OF HEARING

PLEASE TAKE NOTICE that Nationstar Mortgage LLC d/b/a Mr. Cooper, has filed a Motion for

Relief and related papers with the Court seeking an order granting relief from the automatic stay.

PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion for Relief in

United States Bankruptcy Courthouse, Richard B. Russell Federal Building, 75 Ted Turner Drive, SW,

Atlanta, GA 30303, Courtroom 1403 at 9:30 A.M. on June 20, 2019. Your rights may be affected by the

Court's ruling on these pleadings. You should read these papers carefully and discuss them with your

attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to

consult one.) If you do not want the Court to grant the relief sought in these pleadings, or if you want the

Court to consider your views, then you and/or your attorney must attend the hearing. You may file a

written response to the pleading with the Clerk at the address stated below, but you are not required to do

so. If you file a written response, you must attach a certificate stating when, how and on whom (including

addresses) you served the response. Mail or deliver your response so that it is received by the Clerk at
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least two business days before the hearing. The address for the Clerk's Office is: U.S. Bankruptcy Court,

Richard B. Russell Federal Building, 75 Ted Turner Drive, SW, Room 1340, Atlanta GA 30303. You

must also mail a copy of your response to the undersigned at the address stated below.

In the event a hearing cannot be held within thirty (30) days from the filing of said Motion, as required by

11 U.S.C. Section 362, Movant, by and through counsel, waives this requirement and agrees to the next

earliest possible date, as evidenced by the signature below. If a final decision is not rendered by the Court

within sixty (60) days of the date of the request, Movant waives the requirement that a final decision be

issued within that period.

The undersigned consents to the automatic stay remaining in effect with respect to Movant until the court

orders otherwise.


        June 4, 2019
Dated: ______________________________

                                                           Shapiro Pendergast & Hasty, LLP


                                                           ___________________________
                                                             /s/ Lucretia L. Scruggs
                                                           Lucretia L. Scruggs
                                                           Georgia Bar No. 371008
                                                           211 Perimeter Center Parkway, N.E.
                                                           Suite 300
                                                           Atlanta, GA 30346
                                                           Phone: 770-220-2535
                                                           Fax: 770-220-2665
                                                           lscruggs@logs.com
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                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In Re:                                                Chapter 7

Basil Salim Halta,                                    Case No. 19-57782-WLH
                               Debtor.


Nationstar Mortgage LLC d/b/a Mr. Cooper

                                                      Contested Matter
                               Movant,

V.

Basil Salim Halta, Debtor, and William J.
Layng, Jr., Chapter 7 Trustee,

                               Respondents.


                        MOTION FOR RELIEF FROM STAY ,
                 WAIVER OF HEARING PURSUANT TO 11 U.S.C. § 362(e)
                   AND REQUEST FOR WAIVER OF RULE 4001(a)(3)


         COMES NOW Nationstar Mortgage LLC d/b/a Mr. Cooper, for itself, its successors and

assigns (hereinafter known as “Movant”), and shows this Court the following:

                                                 1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract, including, but not limited to, the

right to foreclosure on certain real property.

                                                 2.

         Movant is the holder or servicer of a loan secured by certain real property in which the

Debtor has an interest. A copy of the Security Deed and assignments are attached hereto and
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made a part hereof. Said real property is security for a Promissory Note, and is commonly

known as 110 River North Circle, Atlanta, Georgia 30328. A copy of the Note is attached hereto

and made part hereof.

                                                3.

        There has been a default in payment of the monthly installments required pursuant to the

Promissory Note. As of May 21, 2019, four (4) payments have been missed.

                                                4.

        As of May 21, 2019, the unpaid principal balance is $343,380.35, and the payoff on the

loan is approximately $356,551.62. According to the Debtor’s Schedule D the property is

currently encumbered by two additional liens, one lien held by WELLS FARGO BANK N.A. in

the amount of $139,752.00 and one line held by EBF Partners, LLC in the amount of $35,448.49.

Debtor’s Schedule A lists the property as currently valued at $550,000.00

                                                5.

        Because there may be little or no value in the property over the amount owed on the

property, Movant is not adequately protected and there is cause for relief from the automatic

stay.

                                                6.

        Because there may be little or no equity in the property which could benefit the estate, the

Trustee’s interest should be abandoned.

                                                7.

        Because the Security Deed so provides, Debtor is responsible for Movant’s reasonable

attorney fees.
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                                                8.

        Movant shows that the provisions of Bankruptcy Rule 4001(a)(3) should be waived.

                                                9.

        Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options, including, but not limited to, loan

modifications, deeds in lieu of foreclosure, short sales, and/or any other potential loan workouts

or loss mitigation agreements.

                                                10.

        If the Debtor(s) are interested in initiating review for loss mitigation then the Movant can

be contacted at the following:

                                       Nationstar Mortgage LLC
                                       Attn: Bankruptcy Department
                                       PO Box 619096
                                       Dallas, TX 75261-9741

                                                11.

        Attached are redacted copies of any documents that support the claim, such as promissory

notes, purchase order, invoices, itemized statements of running accounts, contracts, judgments,

mortgages, and security agreements in support of right to seek a lift of the automatic stay and

foreclose if necessary.

        WHEREFORE, Movant prays as follows:

        (a) That this Court issue an Order terminating the Automatic Stay with respect to the

above-referenced property effective as of the date of the hearing; including, but not limited to,

foreclosure of the property, gaining possession of the property and seeking to judicially confirm

the sale, if appropriate.
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         (b) That this Court authorize Movant to foreclose its security interest in said property in

accordance with any applicable law as of the date this Court orders termination of the stay

without further order of this Court;

         (c) That Movant be awarded reasonable attorney's fees and expenses.

         (d) That Movant, at its option, be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options, including, but not limited to, loan

modifications, deeds in lieu of foreclosure, short sales, and/or any other potential loan workouts

or loss mitigation agreements.

         (e) That the Court order that Federal Rule of Bankruptcy Procedure 4001(a)(3) is not

applicable so that Movant may immediately enforce and implement an order granting relief from

the automatic stay;

         (f) That Movant have such other and further relief as this Court deems just and equitable.

Dated:     June 4, 2019


                                              Shapiro Pendergast & Hasty, LLP


                                              ___________________________
                                                /s/ Lucretia L. Scruggs
                                              Lucretia L. Scruggs
                                              Georgia Bar No. 371008
                                              211 Perimeter Center Parkway, N.E.
                                              Suite 300
                                              Atlanta, GA 30346
                                              Phone: 770-220-2535
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                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

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                                Debtor.


Nationstar Mortgage LLC d/b/a Mr. Cooper

                                                        Contested Matter
                                Movant,

V.

Basil Salim Halta, Debtor, and William J.
Layng, Jr., Chapter 7 Trustee,

                                Respondents.

                                   CERTIFICATE OF SERVICE

         This is to certify that I have this day served a true and correct copy of the within Notice of

Assignment of Hearing, together with a copy of the Motion for Relief from Stay filed in this

bankruptcy matter via electronic mail notice to parties, and their representatives, who are ECF

Filers and Consent Users, or by depositing a copy of same in the United States Mail, postage

prepaid, all other interested parties at the indicated addresses as follows:

Basil Salim Halta
110 River North Circle
Atlanta, GA 30328

William A Rountree
Rountree Leitman & Klein, LLC
wrountree@rlklawfirm.com

William J. Layng, Jr.
William J. Layng, Jr., PC
sross@wlaynglaw.com, ga34@ecfcbis.com, blayng@wlaynglaw.com
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Dated June 4, 2019                          Shapiro Pendergast & Hasty, LLP


                                             ___________________________
                                               /s/ Lucretia L. Scruggs
                                              Lucretia L. Scruggs
                                             Georgia Bar No. 371008
                                             211 Perimeter Center Parkway, N.E.
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